(Post. 4/2/12)
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  AO 458 (Rev. 06/09) Appearance of Counsel


                                       UNITED STATES DISTRICT COURT
                                                               for the
                                                   Eastern District of Arkansas
                                                           Western Division


  OJSC TNK-BP HOLDING



                               Plaintiff
                                  v.                              )      Case No. 4:12-CV-512 KGB
                                                                  )
  ROYCHAMP TRADING LLC, AN ARKANSAS                               )
  LIMITED LIABILITY COMPANY                                       )
                                                                  )

                              Defendant

                                                APPEARANCE OF COUNSEL

  To:       The clerk of court and all parties of record

            I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:
            ROYCHAMP TRADING LLC


                                                                                                                              .


  Date: September 4, 2012                                                /s/ Grant E. Fortson
                                                                                            Attorney’s signature

                                                                         Grant E. Fortson (92148)
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         Case 4:12-cv-00512-KGB Document 6 Filed 09/04/12 Page 2 of 2




                               CERTIFICATE OF SERVICE



I hereby certify that on September 4, 2012, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which will send notification of such filing
to the following:

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